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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 23-24882-CIV-LEIBOWITZ/SANCHEZ

      REVENUE BASED FINANCE COALITION,

             Plaintiff,

      v.

      CONSUMER FINANCIAL PROTECTION
      BUREAU and ROHIT CHOPRA, in his official
      capacity as Director of the Consumer Financial
      Protection Bureau,

            Defendants.
      _______________________________________/

           REPORT AND RECOMMENDATION ON CROSS MOTIONS FOR SUMMARY JUDGMENT

            This matter is before the Court on Plaintiff Revenue Based Finance Coalition’s (“Plaintiff”

  or “RBFC”) Motion for Summary Judgment (ECF No. 23) and a Cross-Motion for Summary

  Judgment (ECF No. 25) filed by Defendants Consumer Financial Protection Bureau and its

  Director, Rohit Chopra (collectively, the “Bureau”). 1 RBFC seeks review under the Administrative

  Procedure Act (“APA”) of the Bureau’s final rule requiring financial institutions to collect and

  report data for applications for credit (the “Final Rule”). 2 More specifically, RBFC challenges the

  fact that the Final Rule does not exclude a class of financial transactions known as merchant cash




  1
   The Honorable David S. Leibowitz, United States District Judge, referred these motions to the
  undersigned for a Report and Recommendation. ECF Nos. 59, 62.
  2
   See Small Business Lending Under the Equal Credit Opportunity Act (Regulation B), 88 Fed.
  Reg. 35,150 (May 31, 2023), JA 172-593 (“Final Rule”). Despite the more than 400 pages of
  commentary accompanying the Final Rule, the text of the rule itself spans only seven pages of the
  Federal Register, 88 Fed. Reg. 35,527-33. JA 549-55. The Final Rule is now largely codified at
  12 C.F.R. §§ 1002.101-1002.114, and includes corresponding implementing amendments at 12
  C.F.R. §§ 1002.1(a), 1002.2, 1002.5(a)(4), and 1002.12(b).
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  advances (“MCAs”) from the rule’s coverage. 3 Having carefully reviewed the motion papers, the

  pertinent portions of the Administrative Record, including the Joint Appendix (ECF Nos. 50-56), 4

  the amicus curiae briefs (ECF Nos. 28-1, 35, 42), and the applicable law, and the undersigned

  being otherwise fully advised in the premises, for the reasons discussed below, the undersigned

  RESPECTFULLY RECOMMENDS that Plaintiff’s Motion for Summary Judgment (ECF No.

  23) be DENIED and Defendants’ Cross-Motion for Summary Judgment (ECF No. 25) be

  GRANTED.

                                       I.      BACKGROUND

  A. Section 1071

         In 2010, Congress enacted the Dodd-Frank Wall Street Reform and Consumer Protection

  Act (“Dodd-Frank Act”). Pub. L. No. 111-203, 124 Stat. 1376 (2010). Section 1071 of the Dodd-

  Frank Act amended the Equal Credit Opportunity Act of 1974, 15 U.S.C. § 1691 et seq. (“ECOA”)

  to require financial institutions to collect and report to the Bureau data concerning applications for

  credit for women-owned, minority-owned, and small businesses. See Pub. L. No. 111-203, tit. X,

  § 1071, 124 Stat. 1376, 2056-59 (amending ECOA by adding section 704B), codified at 15 U.S.C.

  § 1691c-2. The express purpose of Section 1071 is “to facilitate enforcement of fair lending laws


  3
    The Court notes that the parties use two different terms to describe the same class of financial
  transaction. Compare, e.g., ECF No. 23 at 4 n.1 (RBFC explaining its use of “sales-based
  financing”) with ECF No. 25 at 3 n.1 (the Bureau explaining that its brief uses “merchant cash
  advance” or “MCA”). For clarity, the Court refers to them as they were addressed in the Final
  Rule—MCAs. In any event, this is a distinction without any practical difference. Cf. CFPB v. RD
  Legal Funding, LLC, 332 F. Supp. 3d. 729, 766 (S.D.N.Y. 2018) (explaining how a transaction
  must be “considered in its totality and judged by its real character, rather than by the name, color,
  or form which the parties have seen fit to give it”) (internal quotations and citation omitted), rev’d
  in part on other grounds by 828 F. App’x 68 (2d Cir. 2020) (summary order); see also JA 259 (the
  Bureau explaining that “the name used by the financial institution for a product is not determinative
  of whether or not it is a ‘covered credit transaction’”).
  4
   This Report and Recommendation cites to materials in the Administrative Record as “JA [Page
  Number]” if they are included in the Joint Appendix and as “AR [Page Number]” if they are not.

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  and enable communities, governmental entities, and creditors to identify business and community

  development needs and opportunities of women-owned, minority-owned, and small businesses.”

  15 U.S.C. § 1691c-2(a).

         To fulfill that dual purpose, Section 1071 requires financial institutions to gather and

  maintain certain information upon “any application to a financial institution for credit.” 15 U.S.C.

  § 1691c-2(b). Specifically, financial institutions shall “inquire whether the business is a women-

  owned, minority-owned, or small business.” Id. § 1691c-2(b)(1). Following that inquiry, financial

  institutions must also compile several specific data points along with “any additional data that the

  Bureau determines would aid in fulfilling the purposes of this section.” Id. § 1691c-2(e)(2).

  B. Proposed Rule

         Under Section 1071, the Bureau is required to “prescribe such rules and issue such

  guidance as may be necessary to carry out, enforce, and compile data pursuant to this section.” 15

  U.S.C. § 1691c-2(g)(1). Section 1071 also authorizes—but does not require—the Bureau to create

  exceptions to the requirements of Section 1071 and to exempt financial institutions or classes of

  financial institutions from the requirements of Section 1071 “as the Bureau deems necessary or

  appropriate to carry out the purposes of [Section 1071].” Id. § 1691c-2(g)(2). To that end, in 2021,

  the Bureau published a proposed rule entitled “Small Business Lending Data Collection Under the

  Equal Credit Opportunity Act (Regulation B),” 88 Fed. Reg. 56,356 (Oct. 8, 2021) (“Proposed

  Rule”). JA 42-57.

         As relevant here, the Proposed Rule did not seek to exclude merchant cash advances

  (“MCAs”) from the collection and reporting requirements. JA 49 (indicating that “[l]oans, lines

  of credit, credit cards, and MCAs . . . would all fall within the scope of this proposed rule, which

  would cover the majority of products that small businesses use to obtain financing”) (emphasis



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  added); see also JA 52 (explaining that proposed rule would “cover MCAs as reportable under

  1071” because of the “proposed definition of ‘credit’”). Rather, the Proposed Rule noted that, in

  response to outreach from the Bureau, many stakeholders, including representatives of small

  business entities, community groups, and industry representatives, had “urged the inclusion of

  MCAs” in the rule for reasons that included their widespread use by small businesses and their

  disproportionate use by minority-owned small businesses and because MCAs should be considered

  credit under Section 1071. JA 51. The Proposed Rule also noted reports of harmful practices by

  some MCA providers that “len[t] credence to many stakeholders’ claims that MCAs may raise fair

  lending concerns.” Id. Accordingly, the Bureau sought public comment on its “proposed approach

  to covered credit transactions, and in particular, whether it should define MCAs and/or other sales-

  based financing transactions, and if so, how.” JA 52.

  C. Merchant Cash Advances (“MCAs”)

         The parties spill a lot of ink on what is and is not an MCA, but ultimately, they describe

  MCAs similarly. Indeed, RBFC explains that under an MCA agreement, “a small business receives

  a lump-sum payment in exchange for the right to receive a percentage of the small business’s future

  sales or income up to a ceiling amount.” ECF No. 23 at 4. RBFC provides the following example:

         For example, assume Company A executes a [MCA] agreement with a provider,
         under which Company A agrees to give 5% of its monthly revenues to the provider
         up to $100,000; and in return, the provider gives Company A $90,000, which
         represents the $100,000 of future revenues discounted at a rate of 1.11 (referred to
         as the “factor rate”) to account for the Company’s and industry’s performance.
         Assuming Company A consistently generates $200,000 of revenue each month, it
         will transfer $10,000 to the provider each month for 10 months until the $100,000
         ceiling amount is reached.

  Id. In the commentary accompanying the Final Rule, the Bureau similarly describes the typical

  MCA as a transaction where:

         a merchant receives a cash advance and promises to repay it plus some additional
         amount or multiple of the amount advanced (e.g., 1.2 or 1.5, the “payback” or
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         “factor” “rate”). The merchant promises to repay by either pledging a percentage
         of its future revenue, such as its daily credit and debit card receipts (the “holdback
         percentage”), or agreeing to pay a fixed daily withdrawal amount to the [MCA]
         provider until the agreed upon payment amount is satisfied.

  JA 242. Significantly, the Bureau recognized that “[m]erchant cash advances vary in form and

  substance” and acknowledged that its comments concerning MCAs addressed “typical” MCAs.

  JA 242 & n.358.

  D. Public Comments and the Final Rule

         In response to the Proposed Rule, the Bureau “received comments on [MCAs] from a wide

  range of lenders, trade associations, business advocacy groups, community groups, individuals,

  the offices of two State attorneys general, and others.” JA 243. The Final Rule observed that “with

  the exception of a sole credit union trade association, the only commenters that supported the

  exclusion of [MCAs] from the rule were [MCA] providers or trade associations representing

  [MCA] providers.” JA 244. One of these commenters was RBFC. See JA 78-116; AR 19,401-

  39. There, RBFC addressed the same central argument it raises here—that MCAs should not be

  regulated as credit transactions. See JA 78.

         In response to public comments, the Bureau did not make any meaningful changes to the

  Final Rule regarding MCAs. The Final Rule followed the Proposed Rule and did not exclude

  MCAs from data collection and reporting requirements. Instead, the Rule defined covered credit

  transactions using ECOA’s statutory definition of “credit” and declined to adopt a definition that

  “explicitly state[s] that it applies to any particular type of credit, whether it be installment, loans,

  credit cards, or merchant cash advances,” because the Bureau “believe[d] that the statutory term

  ‘credit’ in ECOA is intentionally broad so as to include a wide variety of products without

  specifically identifying any particular product by name.” JA 245; see 12 C.F.R. § 1002.104 (not

  excluding MCAs from the definition of “covered credit transaction”).


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         In commentary, however, the Bureau did interpret the Rule’s definitions of “credit” and

  “covered credit transactions” to “include all business credit (including loans, lines of credit, credit

  cards, and merchant cash advances)” that are not excluded by § 1002.104(b), JA 564; see also JA

  245, and the Rule did set forth one data item that was to be compiled for covered credit transactions

  that was specific to MCAs or other sales-based financing, see 12 C.F.R. § 1002.107(a)(12)(v)

  (requiring, for “a merchant cash advance or other sales-based financing transaction,” data about

  “the difference between the amount advanced and the amount to be repaid”). The Bureau

  explained “that the inclusion of merchant cash advances in the Bureau’s [final] rule is important

  to fulfilling both the fair lending and the business and community development purposes of Section

  1071.” JA 245-46. The Final Rule also noted that data from MCA transactions would reflect

  financing demand by “the smallest and most vulnerable businesses.” JA 246. RBFC now brings

  the instant challenge to the Final Rule.

                                  II.     STANDARD OF REVIEW

         Summary judgment is appropriate when there are no genuine issues of material fact, and

  the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c); Celotex Corp. v.

  Catrett, 477 U.S. 317, 322 (1986). However, “when a party seeks review of agency action under

  the APA, the district judge sits as an appellate tribunal,” and “[t]he ‘entire case’ on review is a

  question of law.” Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001)

  (citations omitted). “In such cases, summary judgment is the vehicle for deciding ‘whether as a

  matter of law the agency action is supported by the administrative record and is otherwise

  consistent with the APA standard of review.’” Okeelanta Corp. v. U.S. Army Corps of Eng’rs, No.

  9:21-CV-81505-DMM, 2023 WL 3600665, at *6 (S.D. Fla. Mar. 21, 2023) (quoting Brinklys v.

  Johnson, 175 F. Supp. 3d 1338, 1350 (M.D. Fla. 2016), aff’d sub nom. Brinklys v. Sec’y, Dept. of

  Homeland Sec., 702 F. App’x 856 (11th Cir. 2017)); see also Preserve Endangered Areas of Cobb’s
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  History, Inc. v. U.S. Army Corps of Eng’rs, 87 F.3d 1242, 1246-47 (11th Cir. 1996) (explaining

  that a court conducting a judicial review of agency action is to apply the APA standard of review

  to the administrative record on summary judgment).

          Under the APA, courts are to “hold unlawful and set aside agency action, findings, and

  conclusions found to be . . . in excess of statutory jurisdiction, authority, or limitations, or short of

  statutory right.” 5 U.S.C. § 706(2)(C). When determining if an agency exceeded its regulatory

  authority, Courts no longer defer to an agency’s interpretation of ambiguous statutes, and instead

  “must exercise their independent judgment in deciding whether an agency has acted within its

  statutory authority, as the APA requires.” Loper Bright Enterprises v. Raimondo, 603 U.S. 369,

  412 (2024) (overruling Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984)).

          “[I]n APA actions, the district court . . . review[s] whether an agency’s actions, findings, or

  conclusions are ‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

  law.’” Kane v. U.S. Att’y Gen., No. 23-14192, 2024 WL 3650239, at *5 (11th Cir. Aug. 5, 2024)

  (quoting 5 U.S.C. § 706(2)(A)). “[T]his standard is exceedingly deferential,” Fund for Animals,

  Inc. v. Rice, 85 F.3d 535, 541 (11th Cir. 1996), and district courts are limited to “assess[ing]

  whether the agency arrived at a rational conclusion connected to the evidence,” Salmeron-

  Salmeron v. Spivey, 926 F.3d 1283, 1288 (11th Cir. 2019). Under this standard, agency action may

  be found arbitrary and capricious where

          the agency has relied on factors which Congress has not intended it to consider,
          entirely failed to consider an important aspect of the problem, offered an
          explanation for its decision that runs counter to the evidence before the agency, or
          is so implausible that it could not be ascribed to a difference in view or the product
          of agency expertise.

  Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

          RBFC challenges the Final Rule on two separate grounds. First, RBFC alleges that the

  Bureau exceeded its authority when it promulgated the Final Rule because MCAs are not “credit”
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  under the Equal Credit Opportunity Act, 15 U.S.C. § 1691 et seq. (“ECOA”). See ECF No. 23 at

  11-19. Second, RBFC claims that the Final Rule is arbitrary and capricious under the APA because

  the Bureau only chose to regulate MCAs to “level the playing field” for competitors of MCA

  providers and failed to properly consider RBFC’s public comments during the rulemaking process.

  See id. at 19-28. 5

           The Bureau counters that it was well within its statutory authority when it issued the Final

  Rule because “MCAs fit squarely within ECOA’s definition of th[e] term [‘credit’].” ECF No. 25

  at 9; see also id. at 10-20. The Bureau further contends that the Final Rule is not arbitrary and

  capricious because the Bureau’s decision not to exempt MCAs in the Final Rule was based on a

  reasonable and proper rationale, and it did not “fail[] to respond adequately to comments during

  the rulemaking.” ECF No. 25 at 20; see id. at 9, 20-35.

                                          III.    ANALYSIS

  A. The Bureau Did Not Exceed Its Authority by Adopting the Final Rule.

           RBFC argues that the Bureau exceeded its statutory authority when it adopted the Final

  Rule because the rule will apply to MCAs. See ECF No. 23 at 20 (“[T]he Bureau exceeded its

  statutory authority when it subjected sales-based financing providers to regulation under the Final

  Rule.”). However, a review of the language of the adopted rule in the context of the statutory

  mandate and the statutory language that the rule seeks to implement reveals that RBFC’s argument

  fails.



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    RBFC also argues that the Final Rule is invalid because the Bureau uses “unconstitutionally
  structured funding,” ECF No. 23 at 28, but the Supreme Court has rejected that argument. CFPB
  v. Cmty. Fin. Servs. Ass’n of Am., Ltd., 601 U.S. 416, 421 (2024) (“In this case, we must decide
  the narrow question whether [the CFPB’s] funding mechanism complies with the Appropriations
  Clause. We hold that it does.”). The Bureau is accordingly entitled to summary judgment on this
  issue.

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      1. The Final Rule Tracks the Governing Statutory Definition of Credit
         When Defining the Scope of Covered Transactions.

          Notwithstanding RBFC’s arguments, nothing in the text of the actual Final Rule states that

  MCAs (or sales-based financing) are “covered credit transactions” subject to the Rule. 88 Fed.

  Reg. 35,529 (12 C.F.R. § 1002.103(a)). On the contrary, the Rule provides that a “[c]overed credit

  transaction means an extension of business credit that is not an excluded transaction under

  paragraph (b) of this section.” Id. The Rule further provides that “business credit” has the “same

  meaning” as in 12 C.F.R. § 1002.2(g), which “refers to extensions of credit primarily for business

  or commercial (including agricultural) purposes,” with exclusions for public utilities credit,

  securities credit, incidental credit, and government credit. See 88 Fed. Reg. 35,529 (12 C.F.R.

  § 1002.102(d)). Furthermore, under applicable pre-existing rules, an “extension of credit” means

  “the granting of credit in any form,” 12 C.F.R. § 1002.2(q), and “credit” is defined as “the right

  granted by a creditor to an applicant to defer payment of a debt, incur debt and defer its payment,

  or purchase property or services and defer payment therefor,” 12 C.F.R. § 1002.2(j); see 88 Fed.

  Reg. 35,529 (12 C.F.R. § 1002.102(i)).

          Here, the Final Rule was adopted pursuant to ECOA’s statutory mandate, created by

  Section 1071 of the Dodd-Frank Act, that “[t]he Bureau shall prescribe such rules and issue such

  guidance as may be necessary to carry out, enforce, and compile data pursuant to” the section. 15

  U.S.C. § 1691c-2(g)(1). More particularly, the Rule seeks to implement that statute’s specific

  requirements that, “in the case of any application to a financial institution for credit,” the financial

  institution shall “inquire whether the business is a women-owned, minority-owned, or small

  business” and shall compile, maintain, and submit to the Bureau particular data concerning the

  credit application, applicant, and transaction. 15 U.S.C. § 1691c-2(b), (e), (f). For purposes of

  these statutory ECOA requirements, “[t]he term ‘credit’ means the right granted by a creditor to a


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   debtor to defer payment of debt or to incur debts and defer its payment or to purchase property or

   services and defer payment therefor.” 15 U.S.C. § 1691a(d).

          A comparison of the Final Rule and the governing statutory provisions reveals that the

   credit transactions covered by the Final Rule are precisely the credit transactions that are

   encompassed by 15 U.S.C. § 1691c-2 and that § 1691c-2 directed the Bureau to address. Indeed,

   both § 1691c-2 and the Final Rule use the same definition of “credit” to define the scope of the

   applications and transactions that are the subject of those respective provisions. Compare 15

   U.S.C. § 1691a(d) with 12 C.F.R. § 1002.2(j). Because the Final Rule applies to the very credit

   transactions that are the subject of § 1691c-2 and its statutory mandate that the Bureau “prescribe

   such rules . . . as may be necessary to carry out, enforce, and compile data pursuant to” § 1691c-2,

   the Bureau simply did not exceed its statutory authority through its definition of the scope of the

   credit transactions covered by the Rule. If MCA transactions fall within the scope of the Final

   Rule, it is simply because those transactions also fall within scope of 15 U.S.C. § 1691c-2.

          Because the language of the Rule addressing the scope of covered credit transactions

   complies with 15 U.S.C. § 1691c-2, RBFC’s argument must thus amount to an argument that the

   Bureau exceeded its statutory authority because it did not exclude MCAs from the Final Rule and

   because it interpreted the Rule’s definitions of “credit” and “covered credit transactions” to

   “include all business credit (including loans, lines of credit, credit cards, and merchant cash

   advances)” that are not excluded by § 1002.104(b). See JA 564; see also JA 245.

      2. The Decision Not to Exclude MCAs from the Scope of the Definition
         of Covered Credit Transactions Was Authorized by Statute.

          In terms of the Bureau’s decision not to specifically exclude MCAs from the scope of

   covered credit transactions, the Bureau did not exceed the scope of its authority. Indeed, § 1691c-2

   specifically provides as follows:


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          The Bureau, by rule or order, may adopt exceptions to any requirement of this
          section and may, conditionally or unconditionally, exempt any financial institution
          or class of financial institutions from the requirements of this section, as the Bureau
          deems necessary or appropriate to carry out the purposes of this section.

   15 U.S.C. § 1691c-2(g)(2) (emphasis added). Thus, when the Bureau adopted a rule that did not

   specifically exclude, except, or exempt MCAs or sales-based financing transactions from the rule’s

   definition of covered credit transactions, a definition that tracked ECOA’s definition of credit, the

   Bureau did not exceed its statutory authority. See id.; see also 15 U.S.C. § 1691a(d); 12 C.F.R.

   §§ 1002.2(j), 1002.102(i), 1002.104.

      3. The Bureau’s Interpretation That the Final Rule’s Definition of Covered
         Credit Transactions Includes MCAs Comports with the Governing Statute
         and Does Not Exceed the Bureau’s Statutory Authority.

          Although RBFC challenges the Final Rule as exceeding the Bureau’s statutory authority

   by subjecting MCAs to the Rule because, according to RBFC, MCAs do not meet ECOA’s

   definition of “credit,” see ECF No. 23 at 11-19, the Bureau’s interpretation of the Rule’s definitions

   of “credit” and “covered credit transactions” to “include all business credit (including loans, lines

   of credit, credit cards, and merchant cash advances)” that are not excluded by § 1002.104(b), see

   JA 564; see also JA 245, did not exceed the Bureau’s lawful authority.

          In ECOA, Congress defined “credit,” in relevant part, as “the right granted by a creditor to

   a debtor to defer payment of debt or to incur debts and defer its payment.” 15 U.S.C. § 1691a(d).

   Thus, for MCAs to qualify as “credit,” they must (1) defer payment; (2) of a debt. The parties

   agree on this definition, see, e.g., ECF No. 23 at 12; ECF No. 33 at 8; ECF No. 43 at 2—which,

   as explained above, is the same definition used in the Final Rule, see 12 C.F.R. §§ 1002.2(j),

   1002.102(i)—but disagree on whether MCAs fit the definition.




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              a. MCAs Involve Debt.

           Here, both parties acknowledge that “debt” is not defined in ECOA, Section 1071, or even

   in the implementing rules, so the “ordinary meaning” of the word “debt” controls. See ECF No.

   33 at 9; ECF No. 25 at 15; ECF No. 23 at 12; CBS Inc. v. PrimeTime 24 Joint Venture, 245 F.3d

   1217, 1222 (11th Cir. 2001) (“In the absence of a statutory definition of a term, [courts] look to

   the common usage of words for their meaning.”) (quoting Consol. Bank, N.A. v. U.S. Dep’t of

   Treasury, 118 F.3d 1461, 1464 (11th Cir. 1997)). The parties, however, quarrel over the meaning

   of “debt” and the dictionaries that should be used to determine that meaning. See ECF No. 23 at

   12-13; ECF No. 25 at 15; ECF No. 33 at 9-10.

           Although the word debt has been defined in sundry ways and contexts, see, e.g., Debt,

   Black’s Law Dictionary (4th rev. ed. 1968), for pertinent purposes, a common, ordinary meaning

   of the term at the time ECOA was enacted can be distilled to the following: A debt is a party’s

   legal or contractual obligation to pay in the future that which is owed for consideration received

   in the present. See, e.g., id.; Debt, Oxford English Dictionary (3d ed. 1973).

           As discussed above, an MCA is an agreement between a merchant and an MCA provider

   in which a lump-sum payment is given to the merchant and the merchant agrees to pay back that

   money (with an additional sum) through future revenues.          Because the merchant becomes

   contractually obligated to pay the provider money owed to the provider in accordance with the

   terms of the MCA agreement, the money owed by the merchant is a “debt” within the meaning of

   ECOA.

           RBFC contends, however, that “debt” should be defined more narrowly as “(1) an

   obligation, (2) to repay a specific sum of money owed, and (3) that is enforceable by the creditor.”

   ECF No. 33 at 9. RBFC then argues that a business’s obligation in an MCA “cannot be viewed as



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   a promise to repay,” but must instead be viewed as a “promise[] to deliver to the provider the

   property purchased by the provider.” ECF No. 33 at 10. According to RBFC, there is no promise

   of repayment from the merchant because, through the MCA agreement, “a business sells the right,

   title, and interest in a portion of its future sales.” ECF No. 33 at 10 (emphasis added). 6

          Here, contrary to RBFC’s contentions, see ECF No. 33 at 2, RBFC has failed to establish

   that an MCA transaction is a purchase of all right, title, and interest in any portion of a merchant’s

   future revenues. Although RBFC points to several MCA agreements that use wording that attempts

   to cast the agreement as a purchase and sale, see AR 13031 (“Buyer hereby purchases from Seller

   . . . all of Seller’s rights to payments from Seller’s customers.”); ECF No. 33 at 3 n.2 (citing

   agreements), the reality is that an MCA agreement is not a sale of an existing asset or property

   interest. 7 A merchant cannot sell—and another cannot buy—all right, title, and interest in

   something which does not yet exist (that is, future sales revenues hoped to be received from as-

   yet-unknown parties in unknown future transactions that may never transpire) and in which the

   merchant therefore holds no present property interest; the merchant can only promise to deliver

   (or pay) that “something” in the future. Even though a merchant may hope, anticipate, or even



   6
     Significantly, RBFC has limited its challenge in this case only to the Bureau’s application of the
   Final Rule to those MCA agreements “that involve purchasing the right, title, and interest in future
   [sales] revenues, with obligations to tender funds only if those sales arise.” ECF No. 33 at 15.
   RBFC has thus abandoned any challenge to the Bureau’s application of the Rule to any other MCA
   transactions, effectively conceding that the Bureau did not exceed its authority by declining to
   exclude all MCAs from application of the Final Rule.
   7
     Notably, the agreements which RBFC cites actually reflect that MCA providers lack “all right,
   title, and interest” in merchants’ future sales; those agreements instead contain a variety of
   provisions which establish that the merchant is required to promise to undertake a variety of
   obligations in the future so that the pertinent portion of the funds paid to a merchant from future
   sales will be transferred and/or made available to the MCA provider in the future (that is, the
   merchant shall pay the MCA provider in the future from the funds the merchant acquires) if and
   when those future sales materialize. See JA 594-95 (AR 13031-32), JA 619-26 (AR 13056-60);
   see also, e.g., JA 606-18 (AR 13043-55).
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   expect future revenues, “a mere unilateral expectation or an abstract need is not a property interest”

   the law recognizes. Webb’s Fabulous Pharmacies, Inc. v. Beckwith, 449 U.S. 155, 161 (1980); cf.

   United States v. Cent. Med. Sys., LLC, No. 614CV512ORL28TBS, 2018 WL 5112911, at *7 (M.D.

   Fla. Oct. 19, 2018) (defendants have property interest in claims submitted for payment to Medicare

   because they have “more than an abstract need or desire . . . [or] unilateral expectation” of

   payment) (alterations in original) (quoting Bd. of Regents of State Colls. v. Roth, 408 U.S. 564,

   577 (1972)). Thus, when viewing MCA agreements as a whole rather than focusing on isolated

   wording, the nature, substance, and reality of the MCA agreements, rather than the labels and

   wording that RBFC has pointed to in some of those agreements, establish that such MCA

   agreements are not contracts that involve the purchase and sale of an existing asset or property

   interests, but are instead contracts in which a merchant promises to repay the MCA provider from

   its future revenues. See, e.g., Rhodes v. United States, 464 F.2d 1307, 1311 n.4 (5th Cir. 1972) (in

   analyzing the tax implications of a contract, “[w]e do not overlook the fact that labels or words

   used by the parties in forming their contract are not controlling”); Black Warrior Elec. Membership

   Corp. v. Miss. Power Co., 413 F.2d 1221, 1225 (5th Cir. 1969) (“[W]e read what the agreement

   says against the essential realities of the situation.”); Golden v. Univ. of Miami, 484 F. Supp. 3d

   1255, 1263 (S.D. Fla. 2020) (“[C]ourts do not interpret contractual terms in isolation—‘[i]n

   reviewing a contract . . . the entire contract must be reviewed as a whole without fragmenting any

   segment or portion.’”) (quoting MDS (Canada) Inc. v. Rad Source Techs., Inc., 822 F. Supp. 2d

   1263, 1296 (S.D. Fla. Sept. 30, 2011), aff’d, 720 F.3d 833 (11th Cir. 2013)).

          RBFC then argues that MCAs do not meet the definition of “credit” because they “lack[]

   an enforceable obligation when sales decline or cease.” ECF No. 33 at 10. RBFC, however, has

   failed to establish that MCA agreements fails to create enforceable obligations. The fact that



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   monetary obligations owed by a merchant under an MCA agreement may be reduced, increased,

   or even satisfied or extinguished in the future pursuant to the terms of the MCA agreement does

   not make a merchant’s legal obligations under the agreement unenforceable. Rather, terms that tie

   repayments to sales merely define the contours and conditions of the parties’ contractual rights and

   obligations, as well as the resulting debt, that were established by the MCA agreement and that are

   subject to legal enforcement. The possibility that the obligations owed under the terms of an MCA

   agreement may prove less valuable to an MCA provider than originally anticipated is a contractual

   risk undertaken by the MCA provider and does not make the merchant’s MCA contractual

   obligations unenforceable. Indeed, the MCA agreements to which RBFC has pointed in its brief,

   see ECF No. 33 at 3 n.2, contain a myriad of provisions and contractual enforcement mechanisms

   through which an MCA provider may enforce a merchant’s obligations under an MCA agreement.

   See also, e.g., ECF No. 23 at 4 (RBFC describing a scenario where a company transfers $10,000

   to the MCA provider each month); id. at 14 (recognizing that MCAs provide for automatic

   repayment); JA 603 (agreement where the merchant authorizes the MCA provider to debit the

   merchant’s account “on any Monday through Friday”). Moreover, being able to successfully

   collect on a debt is different than being able to enforce one’s rights under a contract. RBFC has

   identified nothing that prevents an MCA provider from asserting its right to enforce an MCA

   agreement through the courts in the event that a merchant breaches the MCA agreement and does

   not pay the MCA provider in accordance with the terms of the MCA agreement.

          On this record, the Bureau’s conclusion that MCAs involve “debt” is well supported and

   did not exceed the Bureau’s statutory authority.




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              b. MCAs Grant Merchants the Right to Defer Payment.

          To be considered “credit,” MCAs not only must involve “debt,” but must also grant the

   right to defer payment of that debt. See 15 U.S.C. § 1691a(d). RBFC argues that MCAs do not

   grant merchants a right to defer payment of a debt because a merchant “has no obligation to tender

   funds unless it generates sales.” ECF No. 33 at 15. This argument, however, entirely fails to

   understand what a deferral of payment means. 8 The fact that a merchant is not obligated to tender

   funds—that is, pay its debt to the MCA provider—until future sales are made is the very right to

   defer payment of a debt that an MCA grants. The deferral of the repayment of an MCA arises

   when money is advanced to a merchant and the merchant is allowed to delay payment of the

   resulting contractual debt until a future time. As the Bureau states, “[e]xchanging cash for a

   promise to pay money later is credit in the most basic sense of the term.” ECF No. 43 at 4.

          Because the Court finds that MCA agreements confer “a right to defer payment of a debt,”

   MCAs meet the statutory definition of “credit,” and the Bureau did not exceed its authority in

   treating MCAs as credit transactions in the Final Rule. See 15 U.S.C. § 1691a(d).

   B. The Final Rule Is Not Arbitrary or Capricious.

          RBFC also challenges the Final Rule by arguing that it is “arbitrary and capricious because

   it was motivated by an improper aim to benefit sales-based financing competitors,” and because

   “the Bureau failed to respond adequately to material comments.” ECF No. 23 at 19-28. RBFC’s

   arguments are unavailing.




   8
     The Court also notes that this assertion by RBFC that a merchant has an “obligation to tender
   funds” to the MCA provider (that is, to pay the MCA provider) when the merchant generates sales
   essentially acknowledges that MCAs involve the creation of a debt—an obligation to pay in the
   future funds that a merchant contractually owes under the terms of an MCA agreement.
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      1. The Bureau Did Not Act with Improper Motives.

          “When a party challenges agency action as arbitrary and capricious the reasonableness of

   the agency’s action is judged in accordance with its stated reasons.” In re Subpoena Duces Tecum

   Served on Off. of Comptroller of Currency, 156 F.3d 1279, 1279 (D.C. Cir. 1998) (citing Citizens

   to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402 (1971)). As explained above, the purpose

   of Section 1071 “is to facilitate enforcement of fair lending laws and enable communities,

   governmental entities, and creditors to identify business and community development needs and

   opportunities of women-owned, minority-owned, and small businesses,” 15 U.S.C. § 1691c-2(a),

   and Congress has entrusted the Bureau to “prescribe such rules and issue such guidance as may be

   necessary to carry out, enforce, and compile data pursuant to [Section 1071].” 15 U.S.C. § 1691c-

   2(g)(1).

          RBFC argues that the Bureau relied on an impermissible consideration under ECOA and

   Section 1071 when it promulgated the Final Rule to “create a more level playing field” among

   industry participants. ECF No. 23 at 19-24; ECF No. 33 at 18-19. RBFC takes issue with the

   following statement from the Final Rule:

          The Bureau also believes that including merchant cash advances will create a more
          level playing field across financial institutions that provide cash flow financing to
          small businesses by shedding light on such credit transactions as well as create a
          dataset that better reflects demand for such financing by the smallest and most
          vulnerable businesses.

   JA 246. According to RBFC, the Bureau’s creation of a “more level playing field” amounts to the

   Bureau’s imposition of regulatory burdens on MCA providers at the behest of their competitors to

   benefit those competitors. ECF No. 23 at 21-22; ECF No. 33 at 18. RBFC attempts to connect

   the Bureau’s “level playing field” comment to the Proposed Rule, where the Bureau explained that

   it had been considering exempting MCAs from the rule but decided to include them after

   stakeholders expressed concern that excluding MCAs “would create unequal regulatory burdens.”
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   ECF No. 33 at 19; see JA 51. In response, the Bureau claims that RBFC selectively quotes the

   “level playing field” passage, and that “[r]ead in the proper context, the phrase ‘more level playing

   field’ refers to how declining to exempt MCA providers from Section 1071’s requirements would

   help to generate more complete data on the MCA market in furtherance of Section 1071’s

   purposes.” ECF No. 43 at 12; see also ECF No. 25 at 24-25.

          Reviewing the challenged “playing field” comment, especially in the context of the record,

   the Court finds that the Bureau’s explanation makes sense and that the Bureau was not motivated

   by any improper purpose or consideration. There is no indication that the Bureau promulgated the

   Final Rule because of any animus toward MCA providers; rather, the primary passage RBFC relies

   on indicates that the Bureau intended the “more level playing field” phrase to refer to the Rule’s

   entirely proper purpose to collect data across credit providers, including MCA providers, in

   accordance with the Bureau’s statutory purposes to collect data and shed light on credit

   transactions, which serves the statute’s stated purposes of facilitating the enforcement of fair

   lending laws and enabling the identification of needs and opportunities for small businesses, see

   15 U.S.C. §§ 1691c-2(a), (g)(1). The record simply does not support the conclusion that the

   challenged statement reveals an intent to impose a regulatory burden on MCA providers and

   impact their ability to compete with other financial institutions. Recognizing that the arbitrary and

   capricious standard is “exceedingly deferential” to agencies, Fund for Animals, Inc., 85 F.3d at

   541, the Court simply does not find that the Bureau “has relied on factors which Congress has not

   intended it to consider.” Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43.

      2. The Bureau Adequately Considered RBFC’s Comment Letter.

          When an agency undertakes notice-and-comment rulemaking under the APA, after it

   publishes a notice of proposed rulemaking in the Federal Register and solicits comments on the



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   proposed rule, it “must consider and respond to significant comments received during the period

   for public comment.” Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015); see 5 U.S.C. § 553.

   Then, “when the agency promulgates the final rule, it must include in the rule’s text ‘a concise

   general statement of [its] basis and purpose.’” Perez, 575 U.S. at 96 (quoting § 553(c)). The

   general statement “must rebut vital relevant or significant comments.” Hewitt v. Comm’r of IRS,

   21 F.4th 1336, 1343 (11th Cir. 2021) (internal quotations omitted); see Hussion v. Madigan, 950

   F.2d 1546, 1554 (11th Cir. 1992) (“Under the ‘arbitrary and capricious’ standard of review, an

   agency is . . . required to respond to significant comments that cast doubt on the reasonableness of

   the rule the agency adopts.” (quoting Baltimore Gas & Elec. Co. v. United States, 817 F.2d 108,

   116 (D.C. Cir. 1987))).

          RBFC argues that the Bureau failed to consider the benefits of MCAs that RBFC raised in

   its Comment Letter and the potential negative impact that the Rule might have on such benefits.

   ECF No. 33 at 20-21; ECF No. 23 at 25-26. “For example, the Bureau never acknowledged sales-

   based financing brings small business[es] greater flexibility, does not require posting collateral,

   has higher approval rates, and helps small businesses by offering access to smaller amounts of

   capital.” ECF No. 33 at 20; see ECF No. 23 at 25; AR 19,412-14.

          In response, the Bureau argues that it acknowledged those potential benefits during the

   rulemaking process. ECF No. 43 at 13-15; see, e.g., JA 50 n.363 (citing survey data that “84

   percent of surveyed credit applicants were approved for an MCA, as compared to a 43 percent

   approval rate for personal loans”); JA 244 (recognizing that a few commenters “asserted that

   covering merchant cash advances is contrary to public policy because doing so will negatively

   impact access to financing and because they benefit businesses”); JA 185 (“The merchant cash




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   advance market is also of particular significance for smaller and traditionally underserved

   businesses that may not qualify for other types of credit.”).

          The Bureau recognized the limited number of commenters who argued against including

   MCAs in the Final Rule’s definition of credit, which included RBFC, see JA 244, and it was thus

   important to address the comments by these rule opponents. But the APA does not require agencies

   to respond to every point and argument raised in every comment, only to “significant comments

   that cast doubt on the reasonableness of the rule the agency adopts.” Hussion, 950 F.2d at 1554

   (emphasis added) (quoting Baltimore Gas & Elec. Co, 817 F.2d at 116); see also Baltimore Gas &

   Elec. Co., 817 F.2d at 116 (acknowledging that “challenges to the internal integrity or

   reasonableness of the regulatory structure proposed might well cast such doubt, as would

   challenges to the lawfulness of the proposed rule”). RBFC’s arguments about the benefits of

   MCAs do not undercut the reasonableness of the Final Rule by challenging its internal integrity,

   structure, or lawfulness. See Baltimore Gas & Elec. Co., 817 F.2d at 116. In any event, the Bureau

   adequately considered and responded to RBFC’s comments. For example, it considered and

   discussed the benefits provided by MCAs and whether the Rule might negatively impact the

   availability of such benefits. At the same time, the Bureau recognized that there were reports of

   “problematic provider practices” involving MCAs, and it explained that some of the benefits of

   MCAs (such as accessibility and higher approval rates) lead merchants who have no other

   financing options to turn to MCAs and risk jeopardizing their businesses because they may not

   fully recognize the costs of MCAs. See JA 243. On the record before it, the Bureau concluded

   that including MCAs in the definition of credit would “fulfill[] both the fair lending and the

   business and community development purposes of section 1071.” JA 245-46. Here, the Court

   finds that the Bureau appropriately considered RBFC’s comments when it adopted the Final Rule.



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       3. The Bureau Conducted an Appropriate Cost Analysis.

          RBFC next argues that the Final Rule is arbitrary and capricious because the Bureau

   “fail[ed] to show that it addressed or tried to justify the dearth of one-time cost data from sales-

   based financing providers and the limited data from nondepository institutions in promulgating the

   rule.” ECF No. 33 at 23. When considering RBFC’s argument, the Court must ensure that the

   Bureau “has reasonably considered the relevant issues and reasonably explained the decision.”

   FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). The Dodd-Frank Act also requires

   the Bureau to consider “the potential benefits and costs to consumers and covered persons” during

   the rulemaking process. 12 U.S.C. § 5512(b)(2)(A)(i); see PayPal, Inc. v. CFPB, 728 F. Supp. 3d

   31, 43 (D.D.C. 2024). 9

          RBFC argues that this case mirrors PayPal, in which the U.S. District Court for the District

   of Columbia vacated a CFPB rule’s short-form disclosure requirement as applied to digital wallets.

   728 F. Supp. 3d. at 45. There, however, the Bureau’s cost-benefit analysis of the rule did not

   mention “digital wallets” even once. Id. at 43. In contrast, the Bureau here expressly addressed

   the costs and benefits of the Final Rule on MCAs. See, e.g., JA 522 (discussing comments on one-

   time costs for MCA providers and the data the Bureau relied on). The Bureau acknowledged the

   data shortfalls, explained its efforts to acquire more data, explained its methodology, and explained

   that it had “relied on the data it had” to make its best analysis. See, e.g., JA 520-22. “The APA

   requires no more.”        Prometheus Radio Project, 592 U.S. at 427; see also id. at 425-27.

   Accordingly, the Court finds that the Bureau’s cost analysis was sufficient. See Tex. Bankers Ass’n

   v. CFPB, No. 7:23-CV-144, 2024 WL 3939598, at *14 (S.D. Tex. Aug. 26, 2024) (denying a



   9
    An appeal of this case is currently pending before the U.S. Court of Appeals for the D.C. Circuit.
   See PayPal, Inc. v. CFPB, et al., Case No. 24-5146 (D.C. Cir.).

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   challenge to the Small Business Lending Rule that also argued that the Bureau failed to adequately

   consider cost implications and finding that “[t]he Bureau considered the various costs in detail,

   engaged with the various concerns, data, and methodologies, and ultimately based its

   determinations on plausible justifications”). 10

        4. The Bureau Reasonably Considered Any Reliance Interests.

           An agency must provide justification for new policies “when its prior policy has

   engendered serious reliance interests that must be taken into account.” FCC v. Fox. Television

   Stations, Inc., 556 U.S. 502, 515 (2009) (citing Smiley v. Citibank (South Dakota), N.A., 517 U.S.

   735, 742 (1996)).      The Supreme Court in Smiley cautioned agencies that “[s]udden and

   unexplained change” and “change that does not take account of legitimate reliance on prior

   interpretation” may be arbitrary and capricious, but that “if [such] pitfalls are avoided, change is

   not invalidating.” 517 U.S. at 742.

           Here, RBFC has not shown any legitimate reliance on prior Bureau interpretation. In the

   Final Rule, the Bureau cites reliance interests to explain, in part, why it excluded factoring from

   the Final Rule. JA 259 (“[T]he Bureau believes that requiring reporting for these transactions at

   this time would have the effect of upending market participants’ settled expectations that

   ‘factoring’ is not credit within the meaning of existing Regulation B.”). In its comments, RBFC

   attempts to extend the Bureau’s recognition of the reliance interests for factoring providers to MCA

   providers. AR 19,411-12. But MCAs are not factoring agreements; unlike factoring agreements,

   MCAs do not involve the purchase of accounts receivable, an existing asset that is the product of

   historical—not future—transactions. Nor do MCAs have the same history and settled expectations


   10
    An appeal of this case is currently pending before the U.S. Court of Appeals for the Fifth Circuit,
   which recently granted a stay pending appeal following the new President taking office. See Tex.
   Bankers Ass’n v. CFPB, Case No. 24-40705, 2025 WL 429913 (5th Cir. Feb. 7, 2025).

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   as factoring agreements. Nowhere in its comments during the rulemaking process or in its briefing

   does RBFC point the Court to any prior agency policy on which MCA providers have relied. The

   closest thing that RBFC points to is in the Proposed Rule, see JA 51, where the Bureau recognized

   that it had previously “stated that it was considering proposing that MCAs not be a covered product

   under section 1071,” but ultimately decided not to proceed along that course after several

   stakeholders gave reasons that MCAs should be included. 11 But the fact that something is under

   agency consideration is simply not the same as a prior policy. Because RBFC has failed to identify

   what “prior policy has engendered serious reliance interests,” the Bureau is not required to provide

   any additional justification to account for reliance interests. Fox Television Stations, Inc., 556 U.S.

   at 515; cf. United States v. Penn. Indus. Chem. Corp., 411 U.S. 655, 674 (1973) (reliance interests

   implicated when company showed it was “affirmatively misled by the responsible administrative

   agency into believing that the law did not apply in [that] situation”).

          In sum, the Court finds that, notwithstanding RBFC’s challenges to the Rule and the

   rulemaking process, the Bureau’s actions were not arbitrary and capricious.

                                         IV.     CONCLUSION

          For the foregoing reasons, the undersigned finds that the Bureau is entitled to judgment as

   a matter of law on each of Plaintiff’s APA claims.                   Accordingly, the undersigned

   RESPECTFULLY RECOMMENDS that Plaintiff’s Motion for Summary Judgment (ECF No.

   23) be DENIED and Defendants’ Cross-Motion for Summary Judgment (ECF No. 25) be

   GRANTED.

          Within fourteen (14) days from the date of receipt of this Report and Recommendation, the

   parties shall serve and file written objections, if any, to this Report and Recommendation with the


   11
     Notably, the Bureau had not even announced that it was considering that proposal until
   September 15, 2020. 86 Fed. Reg. 56,376.
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   Honorable David S. Leibowitz, United States District Judge. Failing to file timely objections will

   bar a de novo determination by the District Judge of any issue addressed in the Report and

   Recommendation, will constitute a waiver of a party’s “right to challenge on appeal the district

   court’s order based on unobjected-to factual and legal conclusions,” and will only allow appellate

   review of the district court order “for plain error if necessary in the interests of justice.” 11th Cir.

   R. 3-1; 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Henley v. Johnson, 885 F.2d

   790, 794 (11th Cir. 1989); see also Harrigan v. Metro-Dade Police Dep’t Station #4, 977 F.3d

   1185, 1191-92 (11th Cir. 2020).

          RESPECTFULLY RECOMMENDED in Chambers in Miami, Florida, this 17th day of

   February 2025.

                                                  ___________________________________
                                                  EDUARDO I. SANCHEZ
                                                  UNITED STATES MAGISTRATE JUDGE

   cc:    Hon. David S. Leibowitz
          Counsel of Record




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